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CLERK'S OFFICE U.S. DIST. COURT
AT ROANOKE) VA
FILED |
v |

IN THE UNITED STATES DISTRICT COURT |
JUL 0 8 2008 ‘)

FOR THE WESTERN DISTRICT OF VIRGINI

—>—

 

 

 

United States District Judge

HARRISONBURG DIVISION JOHN F. CO er
BY: DE tL ;
}
UNITED STATES OF AMERICA )
)
) Case No. 5-07-cr-00063-006
)
Vv. ) ORDER
)
DUSTIN SCOTT FILES ) By: Glen E. Conrad
)
)

Defendant.
It appearing that the magistrate judge has submitted a report and
recommendation that the defendant’s guilty plea be accepted; and it further appearing
that no objections have been filed to said report and recommendation; and it
appearing proper, it is ORDERED that said report and the findings and
recommendation contained therein are hereby accepted in whole and the defendant
will be adjudged guilty of each offense to which the defendant entered a guilty plea.
Acceptance of the plea agreement is deferred, pending completion of a presentence
report.

The Clerk is directed to send certified copies of this Order to all parties.

ENTER: July 8, 2008
Cpr

United States District Judge

 

 
